                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MISSOURI

Sentencing Minute Sheet for the Honorable Stephen R. Bough

UNITED STATES OF AMERICA                                       Case No: 17-00330-01-CR-W-SRB
vs.                                                            Date: 6/5/2019
PRESTON L. GILLAM

Plaintiff Counsel                                     Defendant Counsel
Jeffrey McCarther, AUSA                               David Kelly

Time Commenced: 9:39 a.m.                        Time Terminated: 10:01 a.m.
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Total Offense Level: 34 Criminal History Category: VI Imprisonment Range 262-327 months.
Supervised Release Range: 5 years. Fine Range 35,000 to 10,000,000. SA $100, Restitution N/A.

The Defendant is sentenced to Count 1.

INCARCERATION:
X    The Court hereby orders the defendant to serve the following term of incarceration with
     the FBP. 96 months
X    The Court recommends the defendant be designated to a facility as near to the St. Louis
     area as possible, it further recommends that the defendant be designated for the RDAP
     program.
X    Defendant is remanded to custody.

SUPERVISED RELEASE:
X    The Court hereby orders the defendant to served the following term of Supervised
     Release. 5 years.

SPECIAL CONDTIONS OF SUPERVISED RELEASE:
X    See J&C for special conditions of Supervised Release.

FINE:
X     Fine Waived.

RESTITUTION:
X    N/A

SPECIAL ASSESSMENT:
X    The Court imposes the following Special Assessment: $100.

X        The Court advises the Defendant he has the right to appeal.


Court Reporter: Gayle Wambolt                                           Tracey Richard, Courtroom Deputy
